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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF DELAWARE

 3G LICENSING, S.A., KONINKLIJKE               )
 KPN N.V., and ORANGE S.A,                     )
                                               )
                Plaintiffs,                    )
                                               )
           v.                                  )          C.A. No. 17-083-LPS-CJB
                                               )
 HTC CORPORATION and HTC                       )
 AMERICA INC.,                                 )
                                               )
                Defendants.                    )


      [PROPOSED] ORDER GRANTING DEFENDANTS’ MOTION TO DISMISS

       Having considered Defendant HTC Corporation’s (“HTC Corp.”) and HTC America,

Inc.’s (“HTC America”) (collectively “defendants”) motion to dismiss for improper venue as to

both defendants and for lack of personal jurisdiction as to HTC Corp., and having considered the

parties’ submissions and argument, if any, the Court hereby GRANTS Defendants’ motion to

dismiss.


       SO ORDERED this ____ day of _________________, 2017.



                                                   _________________________________
                                                        United States District Judge
